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                                                           Order Filed on July 5, 2017
                                                                    by Clerk
                                                             U.S. Bankruptcy Court
                                                             District of New Jersey




                                                                           (3)




DATED: July 5, 2017
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    Principal                 Payments per Year
        192000.00              12

    Annual Interest Rate Number of Regular Payments
        2.0000                 360

    Balloon Payment           Payment Amount
        -172771.22             1059.73


                      Show Amortization Schedule

    .
                     Pmt Principal    Interest     Cum Prin     Cum Int    Prin Bal
                     1  739.73       320.00      739.73       320.00    191,260.27
                     2  740.96       318.77      1,480.69     638.77    190,519.31
                     3  742.20       317.53      2,222.89     956.30    189,777.11
                     4  743.43       316.30      2,966.32     1,272.60 189,033.68
                     5  744.67       315.06      3,710.99     1,587.66 188,289.01
                     6  745.91       313.82      4,456.90     1,901.48 187,543.10


    Principal                 Payments per Year
        187543.10              12

    Annual Interest Rate Number of Regular Payments
        4.0000                 354

    Balloon Payment           Payment Amount
                               903.23


                      Show Amortization Schedule




                     Pmt Principal    Interest Cum Prin      Cum Int      Prin Bal
                     1  278.09       625.14 278.09        625.14        187,265.01
                     2  279.01       624.22 557.10        1,249.36      186,986.00
                     3  279.94       623.29 837.04        1,872.65      186,706.06
                     4  280.88       622.35 1,117.92      2,495.00      186,425.18
                     5  281.81       621.42 1,399.73      3,116.42      186,143.37
                     6  282.75       620.48 1,682.48      3,736.90      185,860.62
                     7  283.69       619.54 1,966.17      4,356.44      185,576.93
                     8  284.64       618.59 2,250.81      4,975.03      185,292.29
                     9  285.59       617.64 2,536.40      5,592.67      185,006.70
                     10 286.54       616.69 2,822.94      6,209.36      184,720.16
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            Pmt Principal Interest Cum Prin Cum Int   Prin Bal
            11 287.50    615.73 3,110.44   6,825.09 184,432.66
            12 288.45    614.78 3,398.89   7,439.87 184,144.21

            13   289.42   613.81   3,688.31    8,053.68    183,854.79
            14   290.38   612.85   3,978.69    8,666.53    183,564.41
            15   291.35   611.88   4,270.04    9,278.41    183,273.06
            16   292.32   610.91   4,562.36    9,889.32    182,980.74
            17   293.29   609.94   4,855.65    10,499.26   182,687.45
            18   294.27   608.96   5,149.92    11,108.22   182,393.18
            19   295.25   607.98   5,445.17    11,716.20   182,097.93
            20   296.24   606.99   5,741.41    12,323.19   181,801.69
            21   297.22   606.01   6,038.63    12,929.20   181,504.47
            22   298.22   605.01   6,336.85    13,534.21   181,206.25
            23   299.21   604.02   6,636.06    14,138.23   180,907.04
            24   300.21   603.02   6,936.27    14,741.25   180,606.83

            25   301.21   602.02   7,237.48    15,343.27   180,305.62
            26   302.21   601.02   7,539.69    15,944.29   180,003.41
            27   303.22   600.01   7,842.91    16,544.30   179,700.19
            28   304.23   599.00   8,147.14    17,143.30   179,395.96
            29   305.24   597.99   8,452.38    17,741.29   179,090.72
            30   306.26   596.97   8,758.64    18,338.26   178,784.46
            31   307.28   595.95   9,065.92    18,934.21   178,477.18
            32   308.31   594.92   9,374.23    19,529.13   178,168.87
            33   309.33   593.90   9,683.56    20,123.03   177,859.54
            34   310.36   592.87   9,993.92    20,715.90   177,549.18
            35   311.40   591.83   10,305.32   21,307.73   177,237.78
            36   312.44   590.79   10,617.76   21,898.52   176,925.34

            37   313.48   589.75   10,931.24   22,488.27   176,611.86
            38   314.52   588.71   11,245.76   23,076.98   176,297.34
            39   315.57   587.66   11,561.33   23,664.64   175,981.77
            40   316.62   586.61   11,877.95   24,251.25   175,665.15
            41   317.68   585.55   12,195.63   24,836.80   175,347.47
            42   318.74   584.49   12,514.37   25,421.29   175,028.73
            43   319.80   583.43   12,834.17   26,004.72   174,708.93
            44   320.87   582.36   13,155.04   26,587.08   174,388.06
            45   321.94   581.29   13,476.98   27,168.37   174,066.12
            46   323.01   580.22   13,799.99   27,748.59   173,743.11
            47   324.09   579.14   14,124.08   28,327.73   173,419.02
            48   325.17   578.06   14,449.25   28,905.79   173,093.85

            49   326.25   576.98   14,775.50   29,482.77   172,767.60
            50   327.34   575.89   15,102.84   30,058.66   172,440.26
            51   328.43   574.80   15,431.27   30,633.46   172,111.83
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            Pmt Principal    Interest Cum Prin     Cum Int     Prin Bal
            52 329.52       573.71 15,760.79     31,207.17   171,782.31
            53 330.62       572.61 16,091.41     31,779.78   171,451.69
            54 331.72       571.51 16,423.13     32,351.29   171,119.97
            55 332.83       570.40 16,755.96     32,921.69   170,787.14
            56 333.94       569.29 17,089.90     33,490.98   170,453.20
            57 335.05       568.18 17,424.95     34,059.16   170,118.15
            58 336.17       567.06 17,761.12     34,626.22   169,781.98
            59 337.29       565.94 18,098.41     35,192.16   169,444.69
            60 338.41       564.82 18,436.82     35,756.98   169,106.28

            61   339.54     563.69   18,776.36   36,320.67   168,766.74
            62   340.67     562.56   19,117.03   36,883.23   168,426.07
            63   341.81     561.42   19,458.84   37,444.65   168,084.26
            64   342.95     560.28   19,801.79   38,004.93   167,741.31
            65   344.09     559.14   20,145.88   38,564.07   167,397.22
            66   345.24     557.99   20,491.12   39,122.06   167,051.98
            67   346.39     556.84   20,837.51   39,678.90   166,705.59
            68   347.54     555.69   21,185.05   40,234.59   166,358.05
            69   348.70     554.53   21,533.75   40,789.12   166,009.35
            70   349.87     553.36   21,883.62   41,342.48   165,659.48
            71   351.03     552.20   22,234.65   41,894.68   165,308.45
            72   352.20     551.03   22,586.85   42,445.71   164,956.25

            73   353.38     549.85   22,940.23   42,995.56   164,602.87
            74   354.55     548.68   23,294.78   43,544.24   164,248.32
            75   355.74     547.49   23,650.52   44,091.73   163,892.58
            76   356.92     546.31   24,007.44   44,638.04   163,535.66
            77   358.11     545.12   24,365.55   45,183.16   163,177.55
            78   359.30     543.93   24,724.85   45,727.09   162,818.25
            79   360.50     542.73   25,085.35   46,269.82   162,457.75
            80   361.70     541.53   25,447.05   46,811.35   162,096.05
            81   362.91     540.32   25,809.96   47,351.67   161,733.14
            82   364.12     539.11   26,174.08   47,890.78   161,369.02
            83   365.33     537.90   26,539.41   48,428.68   161,003.69
            84   366.55     536.68   26,905.96   48,965.36   160,637.14

            85   367.77     535.46   27,273.73   49,500.82   160,269.37
            86   369.00     534.23   27,642.73   50,035.05   159,900.37
            87   370.23     533.00   28,012.96   50,568.05   159,530.14
            88   371.46     531.77   28,384.42   51,099.82   159,158.68
            89   372.70     530.53   28,757.12   51,630.35   158,785.98
            90   373.94     529.29   29,131.06   52,159.64   158,412.04
            91   375.19     528.04   29,506.25   52,687.68   158,036.85
            92   376.44     526.79   29,882.69   53,214.47   157,660.41
            93   377.70     525.53   30,260.39   53,740.00   157,282.71
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            Pmt Principal    Interest Cum Prin Cum Int   Prin Bal
            94 378.95       524.28 30,639.34 54,264.28 156,903.76
            95 380.22       523.01 31,019.56 54,787.29 156,523.54
            96 381.48       521.75 31,401.04 55,309.04 156,142.06

            97    382.76    520.47   31,783.80   55,829.51   155,759.30
            98    384.03    519.20   32,167.83   56,348.71   155,375.27
            99    385.31    517.92   32,553.14   56,866.63   154,989.96
            100   386.60    516.63   32,939.74   57,383.26   154,603.36
            101   387.89    515.34   33,327.63   57,898.60   154,215.47
            102   389.18    514.05   33,716.81   58,412.65   153,826.29
            103   390.48    512.75   34,107.29   58,925.40   153,435.81
            104   391.78    511.45   34,499.07   59,436.85   153,044.03
            105   393.08    510.15   34,892.15   59,947.00   152,650.95
            106   394.39    508.84   35,286.54   60,455.84   152,256.56
            107   395.71    507.52   35,682.25   60,963.36   151,860.85
            108   397.03    506.20   36,079.28   61,469.56   151,463.82

            109   398.35    504.88   36,477.63   61,974.44   151,065.47
            110   399.68    503.55   36,877.31   62,477.99   150,665.79
            111   401.01    502.22   37,278.32   62,980.21   150,264.78
            112   402.35    500.88   37,680.67   63,481.09   149,862.43
            113   403.69    499.54   38,084.36   63,980.63   149,458.74
            114   405.03    498.20   38,489.39   64,478.83   149,053.71
            115   406.38    496.85   38,895.77   64,975.68   148,647.33
            116   407.74    495.49   39,303.51   65,471.17   148,239.59
            117   409.10    494.13   39,712.61   65,965.30   147,830.49
            118   410.46    492.77   40,123.07   66,458.07   147,420.03
            119   411.83    491.40   40,534.90   66,949.47   147,008.20
            120   413.20    490.03   40,948.10   67,439.50   146,595.00

            121   414.58    488.65   41,362.68   67,928.15   146,180.42
            122   415.96    487.27   41,778.64   68,415.42   145,764.46
            123   417.35    485.88   42,195.99   68,901.30   145,347.11
            124   418.74    484.49   42,614.73   69,385.79   144,928.37
            125   420.14    483.09   43,034.87   69,868.88   144,508.23
            126   421.54    481.69   43,456.41   70,350.57   144,086.69
            127   422.94    480.29   43,879.35   70,830.86   143,663.75
            128   424.35    478.88   44,303.70   71,309.74   143,239.40
            129   425.77    477.46   44,729.47   71,787.20   142,813.63
            130   427.18    476.05   45,156.65   72,263.25   142,386.45
            131   428.61    474.62   45,585.26   72,737.87   141,957.84
            132   430.04    473.19   46,015.30   73,211.06   141,527.80

            133 431.47      471.76   46,446.77   73,682.82   141,096.33
            134 432.91      470.32   46,879.68   74,153.14   140,663.42
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            Pmt Principal    Interest Cum Prin     Cum Int     Prin Bal
            135 434.35      468.88 47,314.03     74,622.02   140,229.07
            136 435.80      467.43 47,749.83     75,089.45   139,793.27
            137 437.25      465.98 48,187.08     75,555.43   139,356.02
            138 438.71      464.52 48,625.79     76,019.95   138,917.31
            139 440.17      463.06 49,065.96     76,483.01   138,477.14
            140 441.64      461.59 49,507.60     76,944.60   138,035.50
            141 443.11      460.12 49,950.71     77,404.72   137,592.39
            142 444.59      458.64 50,395.30     77,863.36   137,147.80
            143 446.07      457.16 50,841.37     78,320.52   136,701.73
            144 447.56      455.67 51,288.93     78,776.19   136,254.17

            145   449.05    454.18   51,737.98   79,230.37   135,805.12
            146   450.55    452.68   52,188.53   79,683.05   135,354.57
            147   452.05    451.18   52,640.58   80,134.23   134,902.52
            148   453.55    449.68   53,094.13   80,583.91   134,448.97
            149   455.07    448.16   53,549.20   81,032.07   133,993.90
            150   456.58    446.65   54,005.78   81,478.72   133,537.32
            151   458.11    445.12   54,463.89   81,923.84   133,079.21
            152   459.63    443.60   54,923.52   82,367.44   132,619.58
            153   461.16    442.07   55,384.68   82,809.51   132,158.42
            154   462.70    440.53   55,847.38   83,250.04   131,695.72
            155   464.24    438.99   56,311.62   83,689.03   131,231.48
            156   465.79    437.44   56,777.41   84,126.47   130,765.69

            157   467.34    435.89   57,244.75   84,562.36   130,298.35
            158   468.90    434.33   57,713.65   84,996.69   129,829.45
            159   470.47    432.76   58,184.12   85,429.45   129,358.98
            160   472.03    431.20   58,656.15   85,860.65   128,886.95
            161   473.61    429.62   59,129.76   86,290.27   128,413.34
            162   475.19    428.04   59,604.95   86,718.31   127,938.15
            163   476.77    426.46   60,081.72   87,144.77   127,461.38
            164   478.36    424.87   60,560.08   87,569.64   126,983.02
            165   479.95    423.28   61,040.03   87,992.92   126,503.07
            166   481.55    421.68   61,521.58   88,414.60   126,021.52
            167   483.16    420.07   62,004.74   88,834.67   125,538.36
            168   484.77    418.46   62,489.51   89,253.13   125,053.59

            169   486.38    416.85   62,975.89   89,669.98   124,567.21
            170   488.01    415.22   63,463.90   90,085.20   124,079.20
            171   489.63    413.60   63,953.53   90,498.80   123,589.57
            172   491.26    411.97   64,444.79   90,910.77   123,098.31
            173   492.90    410.33   64,937.69   91,321.10   122,605.41
            174   494.55    408.68   65,432.24   91,729.78   122,110.86
            175   496.19    407.04   65,928.43   92,136.82   121,614.67
            176   497.85    405.38   66,426.28   92,542.20   121,116.82
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            Pmt Principal    Interest Cum Prin     Cum Int      Prin Bal
            177 499.51      403.72 66,925.79     92,945.92    120,617.31
            178 501.17      402.06 67,426.96     93,347.98    120,116.14
            179 502.84      400.39 67,929.80     93,748.37    119,613.30
            180 504.52      398.71 68,434.32     94,147.08    119,108.78

            181   506.20    397.03   68,940.52   94,544.11    118,602.58
            182   507.89    395.34   69,448.41   94,939.45    118,094.69
            183   509.58    393.65   69,957.99   95,333.10    117,585.11
            184   511.28    391.95   70,469.27   95,725.05    117,073.83
            185   512.98    390.25   70,982.25   96,115.30    116,560.85
            186   514.69    388.54   71,496.94   96,503.84    116,046.16
            187   516.41    386.82   72,013.35   96,890.66    115,529.75
            188   518.13    385.10   72,531.48   97,275.76    115,011.62
            189   519.86    383.37   73,051.34   97,659.13    114,491.76
            190   521.59    381.64   73,572.93   98,040.77    113,970.17
            191   523.33    379.90   74,096.26   98,420.67    113,446.84
            192   525.07    378.16   74,621.33   98,798.83    112,921.77

            193   526.82    376.41   75,148.15   99,175.24    112,394.95
            194   528.58    374.65   75,676.73   99,549.89    111,866.37
            195   530.34    372.89   76,207.07   99,922.78    111,336.03
            196   532.11    371.12   76,739.18   100,293.90   110,803.92
            197   533.88    369.35   77,273.06   100,663.25   110,270.04
            198   535.66    367.57   77,808.72   101,030.82   109,734.38
            199   537.45    365.78   78,346.17   101,396.60   109,196.93
            200   539.24    363.99   78,885.41   101,760.59   108,657.69
            201   541.04    362.19   79,426.45   102,122.78   108,116.65
            202   542.84    360.39   79,969.29   102,483.17   107,573.81
            203   544.65    358.58   80,513.94   102,841.75   107,029.16
            204   546.47    356.76   81,060.41   103,198.51   106,482.69

            205   548.29    354.94   81,608.70   103,553.45   105,934.40
            206   550.12    353.11   82,158.82   103,906.56   105,384.28
            207   551.95    351.28   82,710.77   104,257.84   104,832.33
            208   553.79    349.44   83,264.56   104,607.28   104,278.54
            209   555.63    347.60   83,820.19   104,954.88   103,722.91
            210   557.49    345.74   84,377.68   105,300.62   103,165.42
            211   559.35    343.88   84,937.03   105,644.50   102,606.07
            212   561.21    342.02   85,498.24   105,986.52   102,044.86
            213   563.08    340.15   86,061.32   106,326.67   101,481.78
            214   564.96    338.27   86,626.28   106,664.94   100,916.82
            215   566.84    336.39   87,193.12   107,001.33   100,349.98
            216   568.73    334.50   87,761.85   107,335.83   99,781.25

            217 570.63      332.60   88,332.48   107,668.43 99,210.62
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            Pmt Principal    Interest Cum Prin      Cum Int       Prin Bal
            218 572.53      330.70 88,905.01      107,999.13   98,638.09
            219 574.44      328.79 89,479.45      108,327.92   98,063.65
            220 576.35      326.88 90,055.80      108,654.80   97,487.30
            221 578.27      324.96 90,634.07      108,979.76   96,909.03
            222 580.20      323.03 91,214.27      109,302.79   96,328.83
            223 582.13      321.10 91,796.40      109,623.89   95,746.70
            224 584.07      319.16 92,380.47      109,943.05   95,162.63
            225 586.02      317.21 92,966.49      110,260.26   94,576.61
            226 587.97      315.26 93,554.46      110,575.52   93,988.64
            227 589.93      313.30 94,144.39      110,888.82   93,398.71
            228 591.90      311.33 94,736.29      111,200.15   92,806.81

            229   593.87    309.36   95,330.16    111,509.51   92,212.94
            230   595.85    307.38   95,926.01    111,816.89   91,617.09
            231   597.84    305.39   96,523.85    112,122.28   91,019.25
            232   599.83    303.40   97,123.68    112,425.68   90,419.42
            233   601.83    301.40   97,725.51    112,727.08   89,817.59
            234   603.84    299.39   98,329.35    113,026.47   89,213.75
            235   605.85    297.38   98,935.20    113,323.85   88,607.90
            236   607.87    295.36   99,543.07    113,619.21   88,000.03
            237   609.90    293.33   100,152.97   113,912.54   87,390.13
            238   611.93    291.30   100,764.90   114,203.84   86,778.20
            239   613.97    289.26   101,378.87   114,493.10   86,164.23
            240   616.02    287.21   101,994.89   114,780.31   85,548.21

            241   618.07    285.16   102,612.96   115,065.47   84,930.14
            242   620.13    283.10   103,233.09   115,348.57   84,310.01
            243   622.20    281.03   103,855.29   115,629.60   83,687.81
            244   624.27    278.96   104,479.56   115,908.56   83,063.54
            245   626.35    276.88   105,105.91   116,185.44   82,437.19
            246   628.44    274.79   105,734.35   116,460.23   81,808.75
            247   630.53    272.70   106,364.88   116,732.93   81,178.22
            248   632.64    270.59   106,997.52   117,003.52   80,545.58
            249   634.74    268.49   107,632.26   117,272.01   79,910.84
            250   636.86    266.37   108,269.12   117,538.38   79,273.98
            251   638.98    264.25   108,908.10   117,802.63   78,635.00
            252   641.11    262.12   109,549.21   118,064.75   77,993.89

            253   643.25    259.98   110,192.46   118,324.73   77,350.64
            254   645.39    257.84   110,837.85   118,582.57   76,705.25
            255   647.55    255.68   111,485.40   118,838.25   76,057.70
            256   649.70    253.53   112,135.10   119,091.78   75,408.00
            257   651.87    251.36   112,786.97   119,343.14   74,756.13
            258   654.04    249.19   113,441.01   119,592.33   74,102.09
            259   656.22    247.01   114,097.23   119,839.34   73,445.87
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            Pmt Principal    Interest Cum Prin      Cum Int       Prin Bal
            260 658.41      244.82 114,755.64     120,084.16   72,787.46
            261 660.61      242.62 115,416.25     120,326.78   72,126.85
            262 662.81      240.42 116,079.06     120,567.20   71,464.04
            263 665.02      238.21 116,744.08     120,805.41   70,799.02
            264 667.23      236.00 117,411.31     121,041.41   70,131.79

            265   669.46    233.77   118,080.77   121,275.18   69,462.33
            266   671.69    231.54   118,752.46   121,506.72   68,790.64
            267   673.93    229.30   119,426.39   121,736.02   68,116.71
            268   676.17    227.06   120,102.56   121,963.08   67,440.54
            269   678.43    224.80   120,780.99   122,187.88   66,762.11
            270   680.69    222.54   121,461.68   122,410.42   66,081.42
            271   682.96    220.27   122,144.64   122,630.69   65,398.46
            272   685.24    217.99   122,829.88   122,848.68   64,713.22
            273   687.52    215.71   123,517.40   123,064.39   64,025.70
            274   689.81    213.42   124,207.21   123,277.81   63,335.89
            275   692.11    211.12   124,899.32   123,488.93   62,643.78
            276   694.42    208.81   125,593.74   123,697.74   61,949.36

            277   696.73    206.50   126,290.47   123,904.24   61,252.63
            278   699.05    204.18   126,989.52   124,108.42   60,553.58
            279   701.38    201.85   127,690.90   124,310.27   59,852.20
            280   703.72    199.51   128,394.62   124,509.78   59,148.48
            281   706.07    197.16   129,100.69   124,706.94   58,442.41
            282   708.42    194.81   129,809.11   124,901.75   57,733.99
            283   710.78    192.45   130,519.89   125,094.20   57,023.21
            284   713.15    190.08   131,233.04   125,284.28   56,310.06
            285   715.53    187.70   131,948.57   125,471.98   55,594.53
            286   717.91    185.32   132,666.48   125,657.30   54,876.62
            287   720.31    182.92   133,386.79   125,840.22   54,156.31
            288   722.71    180.52   134,109.50   126,020.74   53,433.60

            289   725.12    178.11   134,834.62   126,198.85   52,708.48
            290   727.54    175.69   135,562.16   126,374.54   51,980.94
            291   729.96    173.27   136,292.12   126,547.81   51,250.98
            292   732.39    170.84   137,024.51   126,718.65   50,518.59
            293   734.83    168.40   137,759.34   126,887.05   49,783.76
            294   737.28    165.95   138,496.62   127,053.00   49,046.48
            295   739.74    163.49   139,236.36   127,216.49   48,306.74
            296   742.21    161.02   139,978.57   127,377.51   47,564.53
            297   744.68    158.55   140,723.25   127,536.06   46,819.85
            298   747.16    156.07   141,470.41   127,692.13   46,072.69
            299   749.65    153.58   142,220.06   127,845.71   45,323.04
            300   752.15    151.08   142,972.21   127,996.79   44,570.89
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            Pmt Principal    Interest Cum Prin      Cum Int       Prin Bal
            301 754.66      148.57 143,726.87     128,145.36   43,816.23
            302 757.18      146.05 144,484.05     128,291.41   43,059.05
            303 759.70      143.53 145,243.75     128,434.94   42,299.35
            304 762.23      141.00 146,005.98     128,575.94   41,537.12
            305 764.77      138.46 146,770.75     128,714.40   40,772.35
            306 767.32      135.91 147,538.07     128,850.31   40,005.03
            307 769.88      133.35 148,307.95     128,983.66   39,235.15
            308 772.45      130.78 149,080.40     129,114.44   38,462.70
            309 775.02      128.21 149,855.42     129,242.65   37,687.68
            310 777.60      125.63 150,633.02     129,368.28   36,910.08
            311 780.20      123.03 151,413.22     129,491.31   36,129.88
            312 782.80      120.43 152,196.02     129,611.74   35,347.08

            313   785.41    117.82   152,981.43   129,729.56   34,561.67
            314   788.02    115.21   153,769.45   129,844.77   33,773.65
            315   790.65    112.58   154,560.10   129,957.35   32,983.00
            316   793.29    109.94   155,353.39   130,067.29   32,189.71
            317   795.93    107.30   156,149.32   130,174.59   31,393.78
            318   798.58    104.65   156,947.90   130,279.24   30,595.20
            319   801.25    101.98   157,749.15   130,381.22   29,793.95
            320   803.92    99.31    158,553.07   130,480.53   28,990.03
            321   806.60    96.63    159,359.67   130,577.16   28,183.43
            322   809.29    93.94    160,168.96   130,671.10   27,374.14
            323   811.98    91.25    160,980.94   130,762.35   26,562.16
            324   814.69    88.54    161,795.63   130,850.89   25,747.47

            325   817.41    85.82    162,613.04   130,936.71   24,930.06
            326   820.13    83.10    163,433.17   131,019.81   24,109.93
            327   822.86    80.37    164,256.03   131,100.18   23,287.07
            328   825.61    77.62    165,081.64   131,177.80   22,461.46
            329   828.36    74.87    165,910.00   131,252.67   21,633.10
            330   831.12    72.11    166,741.12   131,324.78   20,801.98
            331   833.89    69.34    167,575.01   131,394.12   19,968.09
            332   836.67    66.56    168,411.68   131,460.68   19,131.42
            333   839.46    63.77    169,251.14   131,524.45   18,291.96
            334   842.26    60.97    170,093.40   131,585.42   17,449.70
            335   845.06    58.17    170,938.46   131,643.59   16,604.64
            336   847.88    55.35    171,786.34   131,698.94   15,756.76

            337   850.71    52.52    172,637.05   131,751.46   14,906.05
            338   853.54    49.69    173,490.59   131,801.15   14,052.51
            339   856.39    46.84    174,346.98   131,847.99   13,196.12
            340   859.24    43.99    175,206.22   131,891.98   12,336.88
            341   862.11    41.12    176,068.33   131,933.10   11,474.77
            342   864.98    38.25    176,933.31   131,971.35   10,609.79
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            Pmt Principal    Interest Cum Prin      Cum Int       Prin Bal
            343 867.86      35.37    177,801.17   132,006.72   9,741.93
            344 870.76      32.47    178,671.93   132,039.19   8,871.17
            345 873.66      29.57    179,545.59   132,068.76   7,997.51
            346 876.57      26.66    180,422.16   132,095.42   7,120.94
            347 879.49      23.74    181,301.65   132,119.16   6,241.45
            348 882.43      20.80    182,184.08   132,139.96   5,359.02

            349 885.37      17.86     183,069.45 132,157.82 4,473.65
            350 888.32      14.91     183,957.77 132,172.73 3,585.33
            351 891.28      11.95     184,849.05 132,184.68 2,694.05
            352 894.25      8.98      185,743.30 132,193.66 1,799.80
            353 897.23      6.00      186,640.53 132,199.66 902.57
            354 *902.57 3.01          187,543.10 132,202.67 0.00
            *The final payment has been adjusted to account for payments
            having been rounded to the nearest cent.
